       Case 2:14-cr-00161-WFN            ECF No. 65    filed 10/26/15   PageID.346 Page 1 of 2



     Bryan P. Whitaker
1    Attorney at Law
     815 W. 7th Ave., Suite 303
2    Spokane, WA 99204
     (509) 315-9947
3
     Attorney for Craig A. Morgenstern
4
                             UNITED STATES DISTRICT COURT
5                           EASTERN DISTRICT OF WASHINGTON
6
                                                      ) Case No.: CR-14-161-WFN
7    UNITED STATES OF AMERICA,                        )
                                                      )
8                    Plaintiff,                       )    REPLY RE: DEFENDANT’S MOTION
                                                      )    TO SUPPRESS PHYSICAL EVIDENCE
9           vs.                                       )
                                                      )
10   CRAIG ALLEN MORGENSTERN,                         )
                                                      )
11                   Defendant.                       )
12
            Dr. Morgenstern was detained by deputies outside his home. While not
13

14   handcuffed, there was no place for him to go, even if not detained. Telling someone

15   they will stand outside their own home until law enforcement is “permitted” to enter is

16   an inherently coercive environment, guns drawn or not.

17          A search warrant supported by the statements of the alleged victim would have
18   limited the scope of a search to medicine found. Without the illegal search most of what
19
     was taken would have been outside the scope of the warrant. The inevitable discovery
20
     rule does not apply in this case.
21

22
            Respectfully submitted this 25th day of October, 2015
23

24                                                                  S/ Bryan P. Whitaker
                                                                    Bryan P. Whitaker
25                                                                  Attorney for Craig
                                                                    Morgenstern


     Reply re: Motion to Suppress - 1
       Case 2:14-cr-00161-WFN           ECF No. 65     filed 10/26/15    PageID.347 Page 2 of 2




1                               CERTIFICATE OF SERVICE

2           I, Bryan P. Whitaker, certify that a true and correct copy of the foregoing –

3                              REPLY RE: MOTION TO SUPPRESS

4       -   was sent via CM/ECF and/or mailed postage prepaid with the United States

5           Postal Service to the following parties:

6    Assistant United States Attorney

7    Stephanie Lister – USAWAE.SListerECF@usdoj.gov

8    James Goeke – USAWAE.JGoekeECF@usdoj.gov

9

10

11   Dated this 25th day of October, 2015

12
                                                                 S/ Bryan P. Whitaker
13                                                               Bryan P. Whitaker
                                                                 815 W. 7th Ave, Suite 303
14                                                               Spokane, WA 99204
                                                                 (509) 315-9947
15

16

17

18

19

20

21

22

23

24

25



     Reply re: Motion to Suppress - 2
